                                                Case 4:07-cv-05944-JST Document 3154-1 Filed 11/24/14 Page 1 of 3




                                          1    Christopher M. Curran (pro hac vice)
                                               ccurran@whitecase.com
                                          2
                                               Lucius B. Lau (pro hac vice)
                                          3    alau@whitecase.com
                                               Dana E. Foster (pro hac vice)
                                          4
                                               defoster@whitecase.com
                                          5    White & Case LLP
                                               701 Thirteenth Street, N.W.
                                          6
                                               Washington, DC 20005
                                          7    Telephone: (202) 626-3600
                                               Facsimile: (202) 639-9355
                                          8
                                          9    Counsel to Defendants Toshiba Corporation,
                                               Toshiba America, Inc., Toshiba America
                                         10
                                               Consumer Products, LLC, Toshiba America
                                         11    Information Systems, Inc., and Toshiba
                                               America Electronic Components, Inc.
                                         12
             701 Thirteenth Street, NW
              Washington, DC 20005
White & Case LLP




                                         13                           UNITED STATES DISTRICT COURT
                                                                     NORTHERN DISTRICT OF CALIFORNIA
                                         14
                                                                        (SAN FRANCISCO DIVISION)
                                         15
                                         16
                                               IN RE: CATHODE RAY TUBE (CRT)                     Case No. 07-5944 SC
                                         17    ANTITRUST LITIGATION                                MDL No. 1917
                                         18
                                                                                            DECLARATION OF
                                         19                                                 LUCIUS B. LAU IN SUPPORT OF
                                         20                                                 THE TOSHIBA DEFENDANTS’
                                              This Document Relates to:                     OBJECTIONS TO SPECIAL
                                         21                                                 MASTER’S RECOMMENDED
                                              ALL ACTIONS
                                         22                                                 ORDER DATED NOVEMBER 20,
                                                                                            2014 RE PLAINTIFFS’ MOTION
                                         23                                                 TO COMPEL DEPOSITIONS OF
                                         24                                                 TOSHIBA WITNESSES

                                         25
                                         26
                                         27
                                         28

                                              DECLARATION OF LUCIUS B. LAU IN SUPPORT OF THE TOSHIBA DEFENDANTS’ OBJECTIONS TO
                                                 SPECIAL MASTER’S RECOMMENDED ORDER DATED NOVEMBER 20, 2014 RE PLAINTIFFS’
                                                            MOTION TO COMPEL DEPOSITIONS OF TOSHIBA WITNESSES
                                                                        Case No. 07-5944-SC, MDL No. 1917
                                                 Case 4:07-cv-05944-JST Document 3154-1 Filed 11/24/14 Page 2 of 3




                                          1     I, Lucius B. Lau, hereby declare as follows:
                                          2         1.       I am an attorney with the law firm of White & Case LLP, counsel for
                                          3   Defendants Toshiba Corporation, Toshiba America, Inc., Toshiba America Consumer
                                          4   Products, LLC, Toshiba America Information Systems, Inc., and Toshiba America Electronic
                                          5   Components, Inc.
                                          6         2.       I submit this declaration in support of the Toshiba Defendants’ Objections to
                                          7   Special Master’s Recommended Order Dated November 20, 2014 Re Plaintiffs’ Motion to
                                          8   Compel Depositions of Toshiba Witnesses, filed contemporaneously herewith. Except for
                                          9   those matters stated on information and belief, which I believe to be true, I have personal
                                         10   knowledge of the facts stated herein, and I could and would competently testify thereto if
                                         11   called as a witness.
                                         12         3.       Attached hereto as Exhibit A is a true and correct copy of the Order Re
             701 Thirteenth Street, NW
              Washington, DC 20005
White & Case LLP




                                         13   Plaintiffs’ Motion to Compel Depositions of Toshiba Witnesses, dated November 20, 2014.
                                         14         4.       Attached hereto as Exhibit B is a true and correct copy of the Report
                                         15   Regarding Case Management Conference, dated June 3, 2010.
                                         16         5.       Attached hereto as Exhibit C is a true and correct copy of Stipulation and
                                         17   Order Regarding Service of Complaints and Applicability of Prior Discovery Orders, dated
                                         18   May 3, 2012.
                                         19         6.       Attached hereto as Exhibit D is a true and correct copy of Toshiba’s Rule
                                         20   26(a)(1) Initial Disclosures, dated June 6, 2008.
                                         21         7.       Attached hereto as Exhibit E is a true and correct copy of the Toshiba
                                         22   Entities’ Amended Rule 26(a)(1) Initial Disclosures, dated August 1, 2014.
                                         23         8.       Attached hereto as Exhibit F is a true and correct copy of a letter from Daniel
                                         24   E. Birkhaeuser to Lucius B. Lau, dated September 10, 2014
                                         25         9.       Attached hereto as Exhibit G is a true and correct copy of a letter from Daniel
                                         26   E. Birkhaeuser to Lucius B. Lau, dated September 12, 2014.
                                         27         10.      Attached hereto as Exhibit H is a true and correct copy of the Toshiba
                                         28   Entities’ Second Amended Rule 26(a)(1) Initial Disclosures, dated October 1, 2014.


                                              DECLARATION OF LUCIUS B. LAU IN SUPPORT OF THE TOSHIBA DEFENDANTS’ OBJECTIONS TO
                                                 SPECIAL MASTER’S RECOMMENDED ORDER DATED NOVEMBER 20, 2014 RE PLAINTIFFS’
                                                            MOTION TO COMPEL DEPOSITIONS OF TOSHIBA WITNESSES
                                                                        Case No. 07-5944-SC, MDL No. 1917
                                                 Case 4:07-cv-05944-JST Document 3154-1 Filed 11/24/14 Page 3 of 3




                                          1         11.      Attached hereto as Exhibit I is a true and correct of a letter from Mario N.
                                          2   Alioto and R. Alexander Saveri to Lucius B. Lau, dated December 10, 2012.
                                          3         12.      Attached hereto as Exhibit J is a true and correct copy of a letter from Lucius
                                          4   B. Lau to Mario N. Alioto and R. Alexander Saveri, dated December 21, 2012
                                          5          13.     Attached hereto as Exhibit K is a true and correct copy of the Plaintiffs’
                                          6   motion to compel the depositions of five individuals, dated September 2, 2014.
                                          7          14.     Attached hereto as Exhibit L is a true and correct copy of the Toshiba
                                          8   Defendants’ response to the Plaintiffs’ motion to compel, dated September 16, 2014.
                                          9          15.     Attached hereto as Exhibit M is a true and correct copy of the Plaintiffs’ reply
                                         10   in support of their motion to compel, dated September 28, 2014.
                                         11          16.     Attached hereto as Exhibit N is a true and correct copy of the Indirect
                                         12   Purchaser Plaintiffs’ Rule 26(a)(1)(A) Initial Disclosures, dated June 6, 2008.
             701 Thirteenth Street, NW
              Washington, DC 20005
White & Case LLP




                                         13
                                         14          I declare under penalty of perjury under the laws of the United States of America that
                                         15   the foregoing is true and correct.
                                         16
                                         17          Executed this 24th day of November, 2014, in Washington, D.C.
                                         18
                                         19
                                         20
                                         21                                                                   Lucius B. Lau
                                         22
                                         23
                                         24
                                         25
                                         26
                                         27
                                         28


                                              DECLARATION OF LUCIUS B. LAU IN SUPPORT OF THE TOSHIBA DEFENDANTS’ OBJECTIONS TO
                                                 SPECIAL MASTER’S RECOMMENDED ORDER DATED NOVEMBER 20, 2014 RE PLAINTIFFS’
                                                            MOTION TO COMPEL DEPOSITIONS OF TOSHIBA WITNESSES
                                                                        Case No. 07-5944-SC, MDL No. 1917
                                                                                         2
